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                  Exhibit 3
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From:                  Bryan Collier[bryan.collier@tdcj.texas.gov]
Sent:                  Thur 9/26/2024 10:00:24 AM (UTC-05:00)
To:                    Christopher Ci rrito[ christopher. ci rrito@tdcj.texas.gov]
Cc:                    Stephanie Greger[Stephan ie. Greger@tdcj. texas. gov]; Eric Mi Iler[Eric. Mi Iler@tdcj. texas. gov]
Subject:               Re: Stiles Outside Temperature Log Update - Confidential Update Memo

Chris, thank you very much. Bryan


From: Christopher Cirrito <christopher.cirrito@tdcj.texas.gov>
Sent: Thursday, September 26, 2024 9:58:52 AM
To: Bryan Collier <bryan.collier@tdcj.texas.gov>
Cc: Stephanie Greger <Stephanie.Greger@tdcj.texas.gov>; Eric Miller <Eric.Miller@tdcj.texas.gov>
Subject: FW: Stiles Outside Temperature Log Update - Confidential Update Memo

 Bryan,

 The final interview is resulting in additional work. I'm confident in my conclusion and have it narrowed
 down to a very specific window in August 2022 with a documentation trail, which is likely more than enough
 to satisfy the judge. However, I might be able to prove it out even further and think it's worth turning over
 the rock.

 I'm working with Tina to pull email for a specific employee, as I suspect there might be additional
 documentary evidence. We're expediting it but it will take a little bit of time to pull and thoroughly review.

 I'll consult with Stephanie and Eric on the "official" report.

 Chris Cirrito, CIA, CFE, CGAP
 Director, Chief Audit Executive
 Texas Board of Criminal Justice
 Windham School District
 Texas Board of Pardons and Paroles


 "Do the best you can until you know better. Then, when you know better, do better."
  Maya Angelou



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 From: Christopher Cirrito
 Sent: Friday, September 20, 2024 1:36 PM
 To: Bryan Collier <bryan.collier@tdcj.texas.gov>
 Cc: Stephanie Greger <Stephanie.Greger@tdcj.texas.gov>; Eric Miller <Eric.Miller@tdcj.texas.gov>
 Subject: Stiles Outside Temperature Log Update - Confidential Update Memo

 Bryan,



                                                                                                            TIEDE_DEF0169071
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I am nearing the end of the work I've been conducting on the events surrounding the Stiles outside
temperature log introduced into evidence during recent federal court proceedings. I have one interview left
to conduct next week and then work should be complete. I'll need to tie up some loose ends in my working
papers and I'm going to send them through our quality control process as if this were an audit. That
process takes some time but this update serves to keep you in the loop should any external questions
arise.

Preliminarily:

The document is obviously and clearly false. However, there is no evidence to suggest that it was
created to deceive the court, Office of the Attorney General, or plaintiff's counsel.

Instead, it appears that it was most likely created in response to an email generated on August 10, 2022 by
the Executive Assistant to CID Deputy Director Eric Guerrero sent to all CID regions in an effort to
coordinate CID's response to a public information request for temperature logs from all units. This email
required each unit scan and upload the requested logs or" ... ensure an Inter-Office Communication (IOC)
justification is submitted for each missing date and scanned in order with that month's logs." It also
referenced the scanned logs would be checked for accuracy by each regional office.

The unit has changed administration several times since these events and Warden Norsworthy is no longer
employed by TDCJ. Therefore, I cannot account for the overall leadership tone at the unit at that time.
However, documentary and testimonial evidence supports that the Stiles unit line level staff responsible for
collecting and uploading those documents attempted to recreate any missing logs using temperature data
available from neighboring units and Stiles unit shift rosters, rather than submitting IOC's for missing
dates. Although strictly my opinion, this decision was likely strongly influenced by the use of the word
"justification" to describe the nature of the IOC for missing dates and some level of interaction with the
warden. A better phrasing regarding the IOC might have been, "accounting for" or something similar but
more benign, "justification" almost connotes, "explain why you messed up". While unintended, I think the
message impacted the outcome.

I'm available if you have any questions.


Chris Cirrito, CIA, CFE, CGAP
Director, Chief Audit Executive
Texas Board of Criminal Justice
Windham School District
Texas Board of Pardons and Paroles


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Maya Angelou



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